finacl,
          Case 2:16-cv-06576-CCC-MAH Document 55 Filed 08/08/17 Page 1 of 5 PageID: 792

           Case 2:16-cv-06576-KM-MAH Document 35-1 FRied 05/03/17 Page 1 of 6 PagelD: 425



                                        UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY
            INDUSTRIA DE ALIMENTOS ZENU S.A.S.
                                                                      No. 2:16-cv-06576 (KM)(MAH)
                                   Plaintiff,

            v.                                                  DISCOVERY CONFIDENTIALITY
                                                                ORDER
            LATINFOOD U.S. CORP. dlb/a ZENU
            PRODUCTS CO. and WILSON ZULUAGA,

                                   Defendants.


                   It appearing that discovery in the above-captioned action is likely to involve the
            disclosure of confidential information, it is ORDERED as follows:

                    1.      Any party to this litigation and any third-party shall have the right to designate as
            “Confidential” and subject to this Order any information, document, or thing, or portion of any
            document or thing: (a) that contains trade secrets, competitively sensitive technical, marketing,
                        sales or other confidential business information, or (b) that contains private or
            confidential personal information, or (c) that contains information received in confidence from
            third parties, or (d) which the producing party otherwise believes in good faith to be entitled to
            protection under Rule 26(c)(l)(G) of the Federal Rules of Civil Procedure and Local Civil Rule
            5.3. Any party to this litigation or any third party covered by this Order, who produces or
            discloses any Confidential material, including without limitation any information, document,
            thing, interrogatory answer, admission, pleading, or testimony, shall mark the same with the
            foregoing or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL                     —   SUBJECT TO
            DISCOVERY CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

                    2.     Any party to this litigation and any third-party shall have the right to designate as
            “Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion
            of any document or thing that contains highly sensitive business or personal information, the
            disclosure of which is highly likely to cause significant harm to an individual or to the business
            or competitive position of the designating party. Any party to this litigation or any third party
            who is covered by this Order, who produces or discloses any Attorneys’ Eyes Only material,
            including without limitation any information, document, thing, interrogatory answer, admission,
            pleading, or testimony, shall mark the same with the foregoing or similar legend:
            “ATTORNEYS’ EYES ONLY” or “ATTORNEYS’ EYES ONLY                                 -   SUBJECT TO
            DISCOVERY CONFIDENTIALITY ORDER” (hereinafter “Attorneys’ Eyes Only”).

                     3.     All Confidential material shall be used by the receiving party solely for purposes
            of the prosecution or defense of this action, shall not be used by the receiving party for any
            business, commercial, competitive, personal or other purpose, and shall not be disclosed by the
            receiving party to anyone other than those set forth in Paragraph 4, unless and until the
            restrictions herein are removed either by written agreement of counsel for the parties, or by
Case 2:16-cv-06576-CCC-MAH Document 55 Filed 08/08/17 Page 2 of 5 PageID: 793

 Case 2:16-cv-06576-KM-MAH Document 35-1 Filed 05/03/17 Page 2 of 6 PagelD: 426



  Order of the Court. It is, however, understood that counsel for a party may give advice and
  opinions to his or her client solely relating to the above-captioned action based on his or her
  evaluation of Confidential material, provided that such advice and opinions shall not reveal the
  content of such Confidential material except by prior written agreement of counsel for the
  parties, or by Order of the Court.

          4.      Confidential material and the contents of Confidential material may be disclosed
  only to the following individuals under the following conditions:

         (a)     Outside counsel, including counsel for Plaintiff in Colombia, (herein defmed as
                 any attorney at the parties’ outside law firms), and relevant in-house counsel for
                 the parties;

         (b)     Outside experts or consultants retained by outside counsel for purposes of this
                 action, provided they have signed a non-disclosure agreement in the form attached
                 hereto as Exhibit A;

         (c)     Secretarial, paralegal, clerical, duplicating and data processing personnel of the
                 foregoing;

         (d)     The Court and court personnel;

         (e)     Any deponent may be shown or examined on any information, document or thing
                 designated Confidential if it appears that the witness authored or received a copy
                 of it, was involved in the subject matter described therein or is employed by the
                 party who produced the information, document or thing, or if the producing party
                 consents to such disclosure;

         (f)     Vendors retained by or for the parties to assist in preparing for pretrial discovery,
                 trial andlor hearings including, but not limited to, court reporters, litigation
                 support personnel, jury consultants, individuals to prepare demonstrative and
                 audiovisual aids for use in the courtroom or in depositions or mock jury sessions,
                 as well as their staff, stenographic, and clerical employees whose duties and
                 responsibilities require access to such materials; and

         (g)     The parties. In the case of parties that are corporations or other business entities,
                 “party” shall mean executives who are required to participate in decisions with
                 reference to this lawsuit.

          5.      Confidential material shall be used only by individuals permitted access to it
  under Paragraph 4. Confidential material, copies thereof, and the information contained therein,
  shall not be disclosed in any manner to any other individual, until and unless (a) outside counsel
  for the party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders
  such disclosure.

          6.      With respect to any depositions that involve a disclosure of Confidential material
  of a party to this action, such party shall have until thirty (30) days after receipt of the deposition
  transcript within which to inform all other parties that portions of the transcript are to be


                                                   -2-
Case 2:16-cv-06576-CCC-MAH Document 55 Filed 08/08/17 Page 3 of 5 PageID: 794

 Case 2:16-cv-06576-KM-MAH Document 35-1 Piled 05/03/17 Page 3 of 6 PagelD: 427



     designated Confidential, which period may be extended by agreement of the parties. No such
     deposition transcript shall be disclosed to any individual other than the individuals described in
     Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during these thirty (30) days, and no
     individual attending such a deposition shall disclose the contents of the deposition to any
     individual other than those described in Paragraph 4(a), (b), (c), (d) and (f) above during said
     thirty (30) days. Upon being informed that certain portions of a deposition are to be designated
     as Confidential, all parties shall immediately cause each copy of the transcript in its custody or
     control to be appropriately marked and limit disclosure of that transcript in accordance with
     Paragraphs 3 and 4.

             7.     Material produced and marked as Attorneys’ Eyes Only may be disclosed only to
     outside counsel for the receiving party and to such other persons as counsel for the producing
     party agrees in advance or as Ordered by the Court.

             8.      If counsel for a party receiving documents or information designated as
     Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of such
     items, the following procedure shall apply:

            (a)     Counsel for the objecting party shall serve on the designating party or third party
                    a written objection to such designation, which shall describe with particularity the
                    documents or information in question and shall state the grounds for objection.
 -




                    Counsel forthe designating party or thirdpairshali respond in writing tosuch
                    objection within 14 days, and shall state with particularity the grounds for
                    asserting that the document or information is Confidential or Attorneys’ Eyes
                    Only. If no timely written response is made to the objection, the challenged
                    designation will be deemed to be void. If the designating party or nonparty makes
                    a timely response to such objection asserting the propriety of the designation,
                    counsel shall then confer in good faith in an effort to resolve the dispute.

            (b)     If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a
                    document or item of information cannot be resolved by agreement, the proponent
                    of the designation being challenged shall present the dispute to the Court initially
                    by telephone or letter, in accordance with Local Civil Rule 37.1(a)(1), before
                    filing a formal motion for an order regarding the challenged designation. The
                    document or information that is the subject of the filing shall be treated as
                    originally designated pending resolution of the dispute.

            9.      All requests to seal documents filed with the Court shall comply with Local Civil
     Rule 5.3.

             10.    If the need arises during trial or at any Hearing before the Court for any party to
     disclose Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice
     to the producing party and as directed by the Court.

             11.    To the extent consistent with applicable law, the inadvertent or unintentional
     disclosure of Confidential material that should have been designated as such, regardless of
     whether the information, document or thing was so designated at the time of disclosure, shall not



                                                    -3-
Case 2:16-cv-06576-CCC-MAH Document 55 Filed 08/08/17 Page 4 of 5 PageID: 795

  Case 2:16-cv-06576-KM-MAH Document 35-1 RIed 05/03/17 Page 4 of 6 PagelD: 428



  be deemed a waiver in whole or in part of a party’s claim of confidentiality, either as to the
  specific information, document or thing disclosed or as to any other material or information
  concerning the same or related subject matter. Such inadvertent or unintentional disclosure may
  be rectified by notifying in writing counsel for all parties to whom the material was disclosed
  that the material should have been designated Confidential within a reasonable time after
  disclosure. Such notice shall constitute a designation of the information, document or thing as
  Confidential under this Discovery Confidentiality Order.

          12.     When the inadvertent or mistaken disclosure of any information, document or
  thing protected by privilege or work-product immunity is discovered by the producing party and
  brought to the attention of the receiving party, the receiving party’s treatment of such material
  shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or
  mistaken disclosure of such information, document or thing shall not by itself constitute a waiver
  by the producing party of any claims of privilege or work-product immunity. However, nothing
  herein restricts the right of the receiving party to challenge the producing party’s claim of
  privilege if appropriate within a reasonable time after receiving notice of the inadvertent or
  mistaken disclosure.

          13.    No information that is in the public domain or which is already known by the
  receiving party through proper means or which is or becomes available to a party from a source
  other than the party asserting confidentiality, rightfully in possession of such information on a
  non-confidential basis, shah be deemed or considered to be Confidential material under this
  Discovery Confidentiality Order.

          14.    This Discovery Confidentiality Order shall not deprive any party of its right to
  object to discovery by any other party or on any otherwise permitted ground. This Discovery
  Confidentiality Order is being entered without prejudice to the right of any party to move the
  Court for modification or for relief from any of its terms.

          15.     This Discovery Confidentiality Order shall survive the termination of this action
  and shall remain in full force and effect unless modified by an Order of this Court or by the
  written stipulation of the parties filed with the Court.

           16.    Upon fmal conclusion of this litigation, each party or other individual subject to
  the terms hereof shall be under an obligation to assemble and to return to the originating source
  all originals and unmarked copies of documents and things containing Confidential material and
  to destroy, should such source so request, all copies of Confidential material that contain andlor
  constitute attorney work product as well as excerpts, summaries and digests revealing
  Confidential material; provided, however, that counsel may retain complete copies of all
  transcripts and pleadings including any exhibits attached thereto for archival purposes, subject to
  the provisions of this Discovery Confidentiality Order. To the extent a party requests the return
  of Confidential material from the Court after the fmal conclusion of the litigation, including the
  exhaustion of all appeals therefrom and all related proceedings, the party shall file a motion
  seeking such relief.




                                                 -4-
                                       _____________________
                                       _____________________________________




Case 2:16-cv-06576-CCC-MAH Document 55 Filed 08/08/17 Page 5 of 5 PageID: 796

 Case 2:16-cv-06576-KM-MAH Document 35-1 flIed 05/03/17 Page 5 of 6 PagelD: 429



  IT IS SO ORDERED.

  Dated:
                                                               U.S.M.J.




                                            SO ORDERED
                                              s/Michael A. Hammer
                                            Michael A. Hammer, U.S.M.J.
                                            Date:




                                      -5-
